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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                  )         8:07CR173
                                           )
             Plaintiff,                    )
                                           )         ORDER
v.                                         )
                                           )
HERMAN CASTILLO-TORRES,                    )
                                           )
             Defendant.                    )




        Before the court is defendant’s Motion to Withdraw Motions [54]. Defendant has
entered into a plea agreement. For that reason, the Motion to Suppress Evidence [40],
Brief in Support of Motion to Suppress [41], Motion for Discovery of Detector Dog
Information and Suggestions in Support [42] , Motion for Pretrial [44], Motion to Sever
[45], Motion in Limine [47] and Brief in Support of Motion in Limine [48] shall be
deemed withdrawn.

      The evidentiary hearing previously scheduled for August 21, 2007 before
Magistrate Judge F.A. Gossett is cancelled.

      IT IS SO ORDERED.

      DATED this 21st day of August, 2007.

                                        BY THE COURT:


                                        s/ F.A. Gossett
                                        United States Magistrate Judge
